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                                 Signed on 04/24/2019




                                 THE HONORABLE BILL PARKER
                                 CHIEF UNITED STATES BANKRUPTCY JUDGE
